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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 SUNIL BHATIA, derivatively on behalf of
 MEDVALUE OFFSHORE SOLUTIONS,
 INC.,                                              Case No. 1:18-cv-02387

                       Plaintiff,
                                                    Honorable Robert M. Dow
 v.
                                                    Magistrate Judge I. Jeffrey Cummings
 RAJU VASWANI, an individual,
 KARAN VASWANI, an individual,
 ASSIVO, INC. (f/k/a MV OUTSOURCING,                JURY TRIAL DEMANDED
 INC.), an Illinois Corporation,

                       Defendants,

 and

 MEDVALUE OFFSHORE SOLUTIONS,
 INC.,

                       Nominal Defendant.


       PLAINTIFF’S OPPOSITION TO DEFENDANTS’ DISCOVERY MOTIONS

       Plaintiff, Mr. Bhatia, by and through his undersigned counsel, respectfully opposes

Defendants’ motions to stay discovery (Dkt. 97 and Dkt. 99) and states as follows:

       I. Introduction

       Plaintiff is a co-owner, officer and employee of MedValue. Defendant, Raju Vaswani is

also a co-owner, officer and employee of MedValue. MedValue provides data entry, data capture,

and data processing services to clients throughout the United States. Raju Vaswani and his son,

Karan Vaswani, pursued a course of action to begin a competing company, Assivo, Inc. (F/K/A

MV Outsourcing, Inc.), even though Raju Vaswani was still an owner and officer of MedValue.

Those actions improperly harmed MedValue and Mr. Bhatia and improperly benefitted Raju
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Vaswani, Karan Vaswani and Assivo. This case presently involves claims for Unfair Competition

(Counts I and II) and Misappropriation of Trade Secrets (Counts III and IV) against all Defendants.

It does not present unique issues for discovery and Judge Dow denied Defendants’ motions to

dismiss these claims.1

        Yet, Defendants request that this Court set a discovery schedule that would require Plaintiff

to provide discovery on numerous issues and allow Defendants to file summary judgment motions

before Defendants would be required to provide any discovery to Plaintiff. Defendants’ motions

and proposed discovery schedule are brought solely for purposes of delaying discovery that Mr.

Bhatia is entitled to on his trade secret and trademark claims.

        According to Defendants’ motions, their common, but not sole, requested pre-condition for

them to respond to Plaintiff’s discovery is that Plaintiff identify MedValue’s trade secrets with

sufficient particularity so they can be aware of what the alleged trade secrets are. But Defendants

conveniently ignore the fact that Plaintiff has already provided such information to them in

Plaintiff’s Response to discovery served by Defendants Assivo and Karan Vaswani. The other

pre-conditions Defendants seek to impose include making Plaintiff respond to Requests for

Admission that have not yet been served, and produce documents relating to the identified trade

secrets even though one of the Defendants, Raju Vaswani, has calculatingly cut off Plaintiff’s

access to such information. For the following reasons, Defendants’ motions to stay discovery

should be denied.




1
 Judge Dow did dismiss Plaintiff’s other state law claims relating to breach of fiduciary duty (Counts V-
VI), breach of duty of loyalty (Count VII-VIII), conversion (Count IX), and for a declaration (Count X),
for lack of subject matter jurisdiction, but they are the subject of Plaintiff’s Motion for Reconsideration
(Dkt. 87) which has been fully briefed and taken under advisement by Judge Dow.



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       II. Background

       Plaintiff filed this action on April 3, 2018 (Dkt. 1). Thereafter, on September 28, 2018,

Plaintiff filed his Second Amended Complaint (Dkt. 44), alleging the following eight state law

claims and two federal claims:

       • COUNT I: Unfair Competition Claim under 15 U.S.C. § 1125(a) as to all Defendants
       (brought derivatively on behalf of MedValue)

       • COUNT II: Unfair Competition Claim under Common Law as to all Defendants (brought
       derivatively on behalf of MedValue)

       • COUNT III: Misappropriation of Trade Secrets, Defend Trade Secrets Act (18 U.S.C.
         §§
       1831-1839) as to all Defendants (brought derivatively on behalf of MedValue)

       • COUNT IV: Misappropriation of Trade Secrets, Illinois Trade Secrets Act (765 ILCS
       1065, et seq.) as to all Defendants (brought derivatively on behalf of MedValue)

       • COUNT V: Breach of Raju Vaswani’s Fiduciary Duty to Sunil Bhatia

       • COUNT VI: Breach of Raju Vaswani’s Fiduciary Duty to MedValue (brought
         derivatively on behalf of MedValue)

       • COUNT VII: Breach of Raju Vaswani’s Duty of Loyalty to Bhatia

       • COUNT VIII: Breach of Raju Vaswani’s Duty of Loyalty to MedValue (brought
         derivatively on behalf of MedValue)

       • COUNT IX: Conversion as to Raju Vaswani

       • COUNT X: Declaratory Judgment, pursuant to 735 ILCS 5/2-701, as to Raju Vaswani

       On December 7, 2018, Defendant Raju filed a Motion to Dismiss (Dkt. 51) the Second

Amended Complaint. This motion was joined by Defendants Karan and Assivo (f/k/a/ MV

Outsourcing, Inc.) (Dkt. 52). With respect to the trade secret claims in Counts III and IV,

Defendants argued the Second Amended Complaint did not describe the alleged trade secrets with

sufficient specificity and therefore sought dismissal under FRCP 12(b)(6). Third-party Defendant




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Varsha Bhatia also filed a Motion to Dismiss Defendant Raju Vaswani’s First Amended

Counterclaim and Third-Party Complaint (Dkt. 64) for lack of subject matter jurisdiction.

       While the motions were pending, on about January 24, 2019, Plaintiff served discovery on

Defendants. Specifically, Plaintiff served:

       •   Plaintiff’s First Request for Production of Documents to Karan Vaswani
       •   Plaintiff’s First Set of Interrogatories to Assivo, Inc.
       •   Plaintiff’s First Request for Production of Documents to Raju Vaswani

Plaintiff also served deposition notices for the depositions of Defendants Mr. Raju Vaswani and

Karan Vaswani.

       Rather than respond to any of that discovery, Defendants asked this Court to stay discovery

pending Judge Dow’s decision on the Motions to Dismiss - which this Court did. (Dkt. 71).

       On September 25, 2019, Judge Dow issued his Dismissal Order and resolved the parties’

Motions to Dismiss. (Dkt. 83). He dismissed Raju Vaswani’s First Amended Counterclaim and

Third-Party Complaint for lack of subject matter jurisdiction.

       With respect to Plaintiff’s claims, Judge Dow denied the Defendants’ Motions to Dismiss

with respect to Counts I through IV in the Second Amended Complaint and these claims currently

remain in the case.

       With respect to the trade secret misappropriation claims, Judge Dow noted that:

       The second amended complaint alleges that MedValue’s trade secrets are ‘various
       advertising keywords and search terms, landing pages, advertising messages, negative
       keywords, campaign budgets, advertising text, and Google bid amounts, as part of
       various advertising and marketing strategies to attract business to MedValue and its
       service, MV Outsourcing, including extensive use of search engine optimization (‘SEO’)
       techniques,’ all of which is proprietary and confidential, ([44] at 10-11, ⁋ 68), and that
       such information is “stored in a password protected MedValue AdWords account with
       Google” ([44] at 11, ⁋ 70).

Dkt. 83, p. 23.




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        Judge Dow also found that:

        [The second amended complaint] identifies the types of information claimed to be trade
        secrets and where they were stored (i.e., in MedValue’s Google AdWords account), and
        asserts that they were password protected. These “general terms” are enough for the
        pleading stage. See Scan Top Enter. Co., Ltd., 2015 WL 4945240, at *3. Given Sunil’s
        articulation of the specific information that makes up the purported trade secrets and his
        other allegations regarding how Raju and Assivo have used that information, this is not
        one of the ‘extreme cases’ that warrants dismissal for a lack of specificity. In re Dealer
        Mgmt. Sys. Antitrust Litig., 362 F. Supp. 3d 558, 574–75 (N.D. Ill. 2019).

Dkt. 83, p. 25-26.

        Following Judge Dow’s order, on October 17, 2019 Defendants Karan Vaswani and

Assivo served discovery upon Plaintiff requesting an identification of trade secrets that Plaintiff

contends have been misappropriated.2

        On November 18, 2019, Plaintiff timely answered Defendants’ discovery on an “attorneys’

eyes-only basis,” and identified 31 specific Google Ad Word attributes that constitute MedValue

trade secret information. Plaintiff also indicated that the identity of and MedValue’s relationship

with its suppliers are also MedValue trade secret information.

        On December 16, 2019, counsel for Defendants Karan Vaswani and Assivo, requested a

Rule 37 conference concerning Plaintiff’s Response. Defendants’ counsel contended that the

identification of trade secrets was “generic and lacks the specificity required” and that “Assivo

was still without knowledge of the specific trade secrets it allegedly misappropriated and how such

are actually trade secrets.”

        On December 18, 2019 Plaintiff’s counsel responded that they were available for a Rule

37 conference on December 23, 2019. On December 20, 2019 Plaintiff sent a letter in advance of

the meet and confer and indicated:


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 On November 14, 2019, Plaintiff sent Defendants counsel a proposed Protective Order. Unable to reach
agreement with Defendants, Plaintiff filed a Motion requesting the entry of a Protective Order (Dkt. 104).



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       We also disagree with your contention that your clients are still without knowledge of the
       specific trade secrets it allegedly misappropriated based on Mr. Bhatia’s response to
       Interrogatory No.1. Mr. Bhatia identified 31 specific Google Ad Word attributes that are
       MedValue trade secret information. He also indicated that the identity of and MedValue’s
       relationship with its suppliers are also MedValue trade secret information. Mr. Bhatia is
       willing to provide additional specificity around the identity and relationship of
       MedValue’s suppliers after a protective order is entered in this case. He will also
       continue to update his responses as required by the Federal Rules.

       Without meeting and conferring with Plaintiff’s counsel, Defendants’ filed their present

discovery motions on December 23, 2019 (Dkt. 97) and December 27, 2019 (Dkt. 99).

       On January 9, 2020, counsel for the parties held a Rule 37 conference concerning the issues

of: (a) Plaintiff’s Interrogatory Response on the trade secret identification, (b) Defendants’ failure

to respond at all to Plaintiff’s discovery for more than one year, and even after the stay on discovery

was lifted, and (c) the proposed Protective Order. During that meet and confer, Plaintiff’s counsel

disagreed with Defendants’ contentions they were without knowledge of the trade secrets, but

confirmed that Plaintiff was willing to further supplement his trade secret Interrogatory Response

with additional information concerning the suppliers once a Protective Order was entered that

would allow information to be disclosed on an “attorneys’ eyes-only basis”. Defendants, however,

would not agree to the proposed Protective Order with such a designation. Defendants also

confirmed that they were continuing to refuse to respond at all to Plaintiff’s discovery requests

pending the resolution of their own discovery motions.

       Thereafter, Plaintiff filed Motions to Compel discovery from Defendants (Dkt. 102), and

for entry of a Protective Order (Dkt. 104) on January 10, 2020.

       III. Argument

       A. There Is No Compelling Reason Warranting A Further Stay Of Discovery

       Defendants Karan Vaswani and Assivo request a stay of all discovery on all issues (e.g.,

trade secret misappropriation and trademark infringement), except for Rule 26 Initial Disclosures,



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until Plaintiff “fully and specifically” identifies its trade secrets. More specifically, they request:

       (i) require Plaintiff to fully and specifically identify MedValue Offshore Solution, Inc.’s
       alleged trade secrets generally pleaded categorically in the latest amended Complaint; and

       (ii) extend the discovery stay (except for Rule 26 initial disclosures) pending a compliant
       disclosure in response to Defendant’s interrogatory.

(Dkt. 97) (emphasis added).

       Defendant Raju Vaswani, on the other hand, requests that this Court:

       Order Plaintiff to identify MedValue’s alleged trade secrets with specificity, identify steps
       taken to protect MedValue’s alleged trade secrets, disclose information and documents
       supporting MedValue’s alleged trademark “MV Outsourcing” with specificity and
       MedValue’s alleged use of the alleged trademark “MV Outsourcing” in interstate
       commerce on a continuous basis, and respond to the mandatory initial discovery requests
       before Defendant is required to respond to any discovery issued by Plaintiff or the
       mandatory initial discovery requests;

       In the alternative, order Plaintiff to respond to the mandatory initial discovery requests
       and answer certain Requests for Admissions and provide information and documents
       supporting any denials, before Defendant is required to respond to any discovery issued
       by Plaintiff or the mandatory initial discovery requests; and,

(Dkt. 99, p. 5) (emphasis added). Yet, Raju Vaswani has not even served any such requests for

production, interrogatories, or requests for admission on Plaintiff.

       Defendants’ requested stays and pre-conditions to providing discovery are not warranted

at this stage of the litigation. An additional stay would not be efficient and would not save costs.

Discovery will need to be provided concerning Defendants’ misappropriation of MedValue’s trade

secrets and use of MedValue’s trademarks. Whether it is sooner or later, it will not save costs. A

further stay of discovery would only serve to delay. Allowing Defendants to withhold information

that is critical to Plaintiff’s case would unfairly prejudice Plaintiff’s ability to pursue his claims.

Defendants’ Motions are part of an effort to avoid harmful discovery on factual issues central to

Plaintiff’s claims for trademark infringement and trade secret misappropriation – discovery that




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Defendants are required to provide in view of Judge Dow’s denial of their Motions to Dismiss

these claims.

        Assivo and Karan Vaswani argue that Plaintiff is trying to obtain discovery before

disclosing its trade secrets. But they completely ignore the fact that Plaintiff has already

identified its trade secrets with particularity in response to Defendants’ Interrogatory.

Specifically, Plaintiff identified 31 specific Google Ad Word attributes that constitute MedValue

trade secret information. Plaintiff also indicated that the identity of, and MedValue’s

relationship with, its suppliers constitute MedValue trade secret information. Thus, Defendants

are well aware, with more than sufficient particularity, what information Plaintiff contends

constitutes MedValue’s trade secrets.

        While Defendants cite to a handful of cases where courts have stayed all or some

discovery pending an identification of trade secrets, they point to no such cases in the Northern

District that have taken that approach. In any event, they are also distinguishable from the

situation here. Many of the cases relied on by Defendants for the proposition that courts require

a plaintiff to identify its trade secrets with “reasonable particularity” do not relate to requests for

a stay of discovery like the ones Defendants request here. For example, A&P Tech., Inc. v.

Lariviere, No. 1:17-cv-534, 2017 WL 6606961 (S.D. Ohio Dec. 27, 2017), was a case where the

court ordered a pre-discovery identification of trade secrets after denying a motion for

preliminary injunction based on a claim for threatened misappropriation of trade secrets. In

DeRubeis v. Witten Techs., Inc., 244 F.R.D. 676, 680–81 (N.D. Ga. 2007), the court decided a

motion to compel and for a protective order after the court made a finding that the trade secret

owner’s discovery responses did not specify any trade secrets. The motion to compel an

identification of trade secrets in Safety Today, Inc. v. Roy, No. 2:12-cv-510, 2014 WL 12749231




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(S.D. Ohio Feb. 11, 2014) was filed in the latter stages of discovery and did not involve a motion

to stay discovery pending an identification of trade secrets. Finally, StoneEagle Servs., Inc. v.

Valentine, No. 3:12-cv-1687, 2013 WL 9554563, at *2 (N.D. Tex. June 5, 2013), involved a

motion filed at the outset of the case for a pre-discovery identification of trade secrets and

defendants had not served an interrogatory requesting an identification of trade secrets, as has

been done in the present case.

         On the other hand, one of the cases cited by Defendants also recognized that some courts

have declined to require pre-discovery identification of trade secrets in trade secret cases, stating:

         On the other hand, some federal courts in recent years have declined to require the plaintiff
         to identify its alleged trade secrets before being allowed to conduct discovery. See, e.g.,
         Global Advanced Metals USA, Inc. v. Kemet Blue Powder Corp., 2012 WL 3884939, at *7
         (D. Nev. Sept. 6, 2012) (affirming magistrate judge's decision not to require the plaintiff to
         identify its trade secrets ‘because of their voluminosity’ and noting that ‘a listing of every
         trade secret would draw an objection from Defendant that they must be narrowed, leading
         to additional discovery disputes and delays, and that a protective order against disclosure
         would protect Defendant's interests’); Montgomery v. eTreppid Techs., LLC, 2008 WL
         2277118, at *10–11 (D. Nev. May 29, 2008) (permitting eTreppid to take discovery on its
         trade secret counterclaim against Montgomery without first specifically identifying its own
         trade secrets at issue).

A&P Tech., Inc. v. Lariviere, No. 1:17-cv-534, 2017 WL 6606961 at * 8 (S.D. Ohio Dec. 27,

2017).

         Defendants also cite a number of other cases for the purported proposition that courts

“routinely require trade secret plaintiff to specify trade secret information prior to proceeding

with discovery.” But those cases are distinguishable from the situation here, and in none of them

did the court actually grant the broad relief requested by Defendants in the present case. In Vesta

Corp. v. Amdocs Mgmt. Ltd., 147 F. Supp. 3d 1147 (D. Ore. 2015), and Dura Global Techs. Inc.

v. Magna Donnelly Corp., No. 07-cv-10945-DT, 2007 WL 4303294 (E.D. Mich. Dec. 6, 2007),

the courts ordered an identification of trade secrets before requiring defendants to produce their




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own confidential information and trade secrets in discovery. Similarly, in the AutoMed

Technologies, Inc. v. Eller, 160 F.Supp.2d 915 (2001), a case cited by Assivo and in this Court’s

Order of February 14, 2019, the defendants sought a protective order to delay production of

relevant discovery materials relating to their own trade secrets due to an insufficient

identification of trade secrets by plaintiff. In that case, the Court noted that “[m]ovants do not

seek to suspend discovery in its entirety, only that portion which implicates their trade secrets.

Discovery should proceed unhindered on the other counts.” Id. at 926.

       But here, neither Assivo nor the individual Defendants claim that they are seeking to

protect their own trade secrets. In any event, entry of an appropriate Protective Order can protect

disclosure of any such information.

       Of the remaining cases cited by Defendants, many do not involve a stay of discovery at

all. Others are very different from the situation here where Defendants have requested a broad

stay of discovery as to all issues until Plaintiff provides discovery and without asking the Court

to decide as to the sufficiency of Plaintiff’s disclosure. For instance, Del Monte Fresh Produce

Co. v. Dole Food Co. Inc., 148 F. Supp. 2d 1322, 1325–26 (S.D. Fla. 2001), involved a motion to

compel an identification of trade secrets, but did not relate to any type of stay of discovery.

Switch Commc’ns Grp. v. Ballard, No. 11- cv-00285, 2012 WL 2342929, at *6 (D. Nev. June 19,

2012), related to a plaintiff’s motion to compel discovery from a defendant. The Court denied the

motion because, after reviewing plaintiff’s supplemental interrogatory responses, it found that

plaintiff had not identified its trade secrets in reasonable detail and held that defendants did not

have to respond to discovery relating to the alleged trade secret misappropriation until plaintiff

did so. In Ikon Office Solutions, Inc. v. Konica Minolta Bus. Solutions, USA Inc., No. 08-cv-539,

2009 WL 4429156, at *4 (W.D.N.C. Nov. 25, 2009), the case was in a very different stage than




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the one here. Both parties had served discovery requests and filed cross-motions to compel

discovery. The Court ordered the plaintiff to provide a more specific identification of trade

secrets, but did not order a stay of discovery. Separately, the defendant was also granted a

protective order against disclosure of certain confidential information that was not sufficiently

necessary and relevant to the case. DeRubeis v. Witten Techs., Inc., 244 F.R.D. 676, 680–81

(N.D. Ga. 2007) was discussed above and related to a motion to compel discovery responses and

for a protective order.

       Assivo contends that this case is in its early stages and that the status has not materially

changed since the Court granted the last stay when Motions to Dismiss were pending. But the

status has materially changed – the Motions to Dismiss have now long been decided and

Plaintiff’s trade secret claims and trademark infringement claims are going forward. So, the

procedural posture in this case is significantly different now than it was in February 2019 when

the prior stay was entered.

       Assivo further contends that Plaintiff’s Complaint avers that the alleged Google Adwords

that are trade secrets are stored in a password protected file, so Mr. Bhatia should be able to

identify and produce those documents. This argument is entirely disingenuous. As Assivo surely

knows, Raju Vaswani terminated administrative access rights to MedValue’s AdWords account

for Mr. Bhatia’s MedValue email address and assigned them to an email address at Assivo. If

Defendants contend Plaintiff must produce these documents, this Court should order Raju

Vaswani to restore Mr. Bhatia’s access so Plaintiff can provide them. It is information that will

be provided in discovery by MedValue either way and Mr. Bhatia, as co-owner and an officer of

MedValue, should be allowed access to the account.




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       Defendants’ additional contention that a stay will reduce the burden on the Court is also

incorrect. Defendants have already complained that the identification of the trade secrets in the

Complaint was not sufficient – Judge Dow disagreed. Defendants now apparently contend that

Plaintiff’s Interrogatory Response does not allow them to understand the nature of the alleged

trade secrets. Allowing Defendants to complain about the sufficiency of the identification of the

trade secrets before providing discovery will likely result in more motion practice and delay.

       B. Mr. Bhatia Is Entitled To Discovery Based On The Claims In This Case

        Defendants’ use of the MedValue trademark and how and whether they misappropriated

MedValue’s Google AdWords and supplier information for use in offering competing services are

key issues for Plaintiff’s claims. Defendants seek to avoid discovery that they must produce and

propose delaying their obligations until there has been an identification of trade secrets, while

ignoring that Plaintiff already has done so. Regardless of the trade secret identification issue,

Defendants have an obligation to produce materials relating to the trademark issues, which will

likely involve at least some overlap with the trade secret issues.

       Defendants have also contended that discovery is closed, even though Judge Dow’s

Order resolving the Motions to Dismiss was issued on September 25, 2019 and Defendants

themselves served discovery on Plaintiff after the decision. Defendants are simply refusing to

search for and produce the records that could result in defeating Mr. Bhatia’s claims if – and only

if – their denials that they misappropriated MedValue’s trade secret information and infringed

MedValue’s trademarks were truthful.

       Defendants also suggest that the discovery served by Plaintiff is too broad and would be

too burdensome and expensive for them to respond. This argument is a red herring. Defendants

have refused to even respond to the discovery Plaintiff served and did not timely serve any




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objections. Defendants did not file a Motion to Quash or Motion for Protective Order either.

Defendants’ objections have therefore been waived.3 Defendants have offered no explanation as

to why it would be “burdensome and expensive” for them to respond to the discovery requested

at this stage in the litigation. They have not indicated what volume of materials would need to be

searched, so there is no basis for them to claim it would be overly burdensome for them to

respond to Plaintiff’s discovery.

        C. Defendants’ Other Requests Should Be Denied

        Defendants Assivo and Karan Vaswani also contend that Plaintiff should not be permitted

to amend the trade secret list or add to it once discovery begins. There is no support for this

request and it is contrary to the Federal Rules. Parties are allowed, and in fact obligated, to

amend their discovery responses during discovery as information becomes available. If, during

discovery, Plaintiff discovers that additional trade secrets were misappropriated he will amend

his Interrogatory Responses as required by the Rules. The Thermodyne Food Serv. Prods, Inc. v.

McDonalds Corp., 940 F. Supp. 1300, 1304 n.4 (N.D. Ill. 1996), case cited by Assivo has

nothing to do with preventing supplementation of trade secret identification after discovery

begins. In Thermodyne, the court was deciding defendant’s summary judgment motion on a trade

secret claim. The Court sought to identify the alleged trade secrets as part of its analysis.

Defendants claimed that plaintiff was improperly expanding its identification of its trade secrets

in its summary judgment response brief from the identification in its disclosures. The court



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 Defendants refusals to respond to Plaintiff’s discovery are now the subject of Plaintiff’s motion to
compel. (See Dkt. 102). The fact that Defendants filed a motion for a discovery stay does not substitute
for serving objections. Failure to timely respond or serve any objections to the requests waives them.
Merely filing a motion to stay does not alter defendants’ responsibilities under the Federal Rules. “Until
an order granting the motion is entered, discovery is not stayed, and a party cannot simply ignore valid
discovery requests on the ground that [its] motion to stay [discovery] might be granted.” Polzin v.
Unifund CCR Partners, No. 08-CV-59, 2009 WL 2474668, at *4 (E.D. Wis. Aug. 11, 2009).


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disagreed with defendants and agreed that plaintiff’s disclosure in its summary judgement brief

was appropriate.

                                          CONCLUSION

       The information identified by Mr. Bhatia in his Interrogatory Response (identifying 31

specific Google Ad Word attributes that are MedValue trade secret information and the identity of

and MedValue’s relationship with its suppliers) affords MedValue a competitive advantage and

sufficiently identifies MedValue’s trade secrets at this point in the litigation to allow discovery to

proceed.

       In the event that Court feels more specificity is needed to allow discovery to proceed, Mr.

Bhatia requests that this Court order Defendant Raju Vaswani restore Sunil Bhatia’s access to

MedValue’s Google Adwords system, to allow Plaintiff to identify information in Google

AdWords system with more specificity. Raju Vaswani unilaterally and inappropriately terminated

Mr. Bhatia’s access to the system and has not restored it despite Mr. Bhatia’s requests.

       For the foregoing reasons, Mr. Bhatia requests that this Court deny Defendants’ Motions

and requests that this Court set a discovery schedule as requested by Plaintiff in Plaintiff’s

proposed discovery schedule submitted January 16, 2020.


Dated: January 16, 2020                        Respectfully submitted,

                                                  /s/John G. Bisbikis________

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                               CERTIFICATE OF SERVICE

      The undersigned states that, on January 16, 2020, he caused the above to be served on
Defendants’ counsel of record by way of ECF filing it.



                                           By: /s/John G. Bisbikis




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